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                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF MICHIGAN


HOPE LUTHERAN CHURCH,                                   CASE NO.: 2:18-cv-00155-PLM-TPG


               Plaintiff,                               HON. PAUL L. MALONEY


                                                        MAG.: HON. TIMOTHY P. GREELEY


CITY OF ST. IGNACE, MICHIGAN,
a municipal corporation

               Defendant.



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            DEFENDANT'S MOTION TO DISMISS PLAINTIFF'S COMPLAINT


       NOW COMES Defendant, CITY OF ST. IGNACE, MICHIGAN, by and through its

attorneys, CUMMINGS, McCLOREY, DAVIS & ACHO, P.L.C, and in support of its Motion to

Dismiss Plaintiffs Complaint states as follows:

       1.      To survive a motion to dismiss, Plaintiff must provide a sufficient factual basis to

support each claim. Mere labels and conclusions, formulaic recitation of the elements of a cause

of action, or naked assertions devoid of further factual enhancement do not suffice.



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       2.      Plaintiff must plead sufficient factual content that allows the court to draw the

reasonable inference that the Defendant is liable for the misconduct alleged.

       3.      Pleadings that fail to comply with this standard fail to state a claim upon which

relief can be granted and are subject to dismissal pursuant to Fed. R. Civ. P. 12(c).

       4.      To succeed on a First Amendment Freedom of Speech and Assembly claim,

Plaintiff must establish that its rights to speak and assemble have been abridged—that the

Defendant has prevented it from speaking on matters of religion or from assembling.

       5.      Claims based solely on a municipality applying a zoning ordinance and preventing

a plaintiff from assembling in a specific building are insufficient because a church has no

constitutional right to worship wherever it pleases.

       6.      In this case, Plaintiff claims the City is preventing it from assembling in the specific

Property it purchased—not that it has been prevented from speaking or from assembling.

       7.      Plaintiffs Count I fails to state a claim based on the First Amendment's Freedom

of Speech and Assembly upon which relief can be granted.

       8.      To succeed on a First Amendment Free Exercise Clause claim challenging a

facially neutral law of general applicability, Plaintiff must establish the law targets religious

conduct for distinctive treatment.


       9.      Where a zoning ordinance was enacted to maximize tax revenue and a church is

prevented from operating in a zoning district, the church must identify an institution that does not

produce any tax revenue, but is nonetheless permitted to operate in the district.

       10.     In this case, Plaintiff fails to identify an institution that does not produce any tax

revenue, but is nonetheless permitted to operate in the City of St. Ignace's General Business

District ("GBD").



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        11.       Plaintiffs Count II fails to state a claim under the First Amendment's Free Exercise

Clause upon which relief can be granted.

        12.       To succeed on a Fourteenth Amendment Equal Protection claim, Plaintiff must

adequately plead that the City has treated it differently as compared to similarly situated

institutions.


        13.       Conclusory allegations of discriminatory intent without facts to support such a

finding—including facts necessary to conclude Plaintiffs purported comparator was similarly

situated—do not suffice.


        14.       In this case, Plaintiff fails to plead any facts that it was treated differently than a

similarly situated comparator. In fact, Plaintiff fails to identify any comparator.

        15.       Plaintiffs Count III fails to state a claim under the Fourteenth Amendment's Equal

Protection Clause upon which relief can be granted.

        16.       In evaluating a claim based on the Religious Land Use and Institutionalized Persons

Act's ("RLUIPA") Substantial Burden clause, courts consider whether the burden complained of

was self-imposed and whetherPlaintiff has a feasible alternative location from which it can carry

on its mission.


        17.       Courts have held that a burden is self-imposed where a plaintiff purchases a

property beforeresearching zoning requirements. Courts have also held that a plaintiffhas feasible

alternative locations where it is able to fully operate at a nearby rented location.

        18.       In this case, Plaintiffs claim is based on self-imposed burdens and Plaintiff has a

feasible alternative location nearby the Property at issue where it can fully operate.

        19.       Plaintiffs Count IV fails to state a RLUIPA Substantial Burden claim upon which
relief can be granted.



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       20.     The "Discrimination and exclusion" section of the RLUIPA contains three


provisions: (a) the "Equal Terms Clause"; (b) the "Nondiscrimination Clause"; and (c) "Exclusion

and limits."


       21.     To succeed on an Equal Terms claim, Plaintiff must identify a comparator that is

similarly situated as to the legitimate regulatory purposes underlying the challenged zoning

ordinance.


       22.     Courts have held that tax revenue maximization and prioritizing the availability of

liquor licenses are legitimate regulatory purposes.

       23.     In this case, Plaintiff fails to identify any similarly situated comparator that does

not generate any tax revenue but is nonetheless permitted to operate in the GBD.

       24.     To succeed on a Nondiscrimination claim, Plaintiff must create an inference that

the decision to deny its variance application was based on its religious faith as opposed to the

City's legitimate regulatory purposes.

       25.     Courts have held that where the facts demonstrate that all churches are not

permittedin a given zoning district because they do not align with the municipality's goals for that

district, a plaintiff cannot succeed on a Nondiscrimination claim.

       26.     In this case, the facts demonstrate that churches are not permitted in the GBD

because they do not align with the City's goals of tax revenue maximization and ensuring the

availability of liquor licenses. Plaintiff has pled no facts to the contrary.

       27.     To succeed on an Exclusion and limits claim, Plaintiff must demonstrate that the

challenged ordinance deprives it of reasonable opportunities to practice its religion.
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       28.     Courts have held that where churches are prohibited from commercial zoning

districts but are permitted as of right in other zoning districts, a plaintiff fails to demonstrate that

it has been unreasonably deprived of opportunities to practice its religion.

       29.     In this case, although the City has not allowed Plaintiff to operate its church in the

GBD (a commercial district) with a tax exemption, Plaintiff can operate its church as of right in

three (3) of the City's other ten (10) zoning districts.

        30.     Plaintiffs Count V fails to state a claim under the RLUIPA Discrimination and

exclusion section upon which relief can be granted.

        31.     Where a plaintiff raises claims under both the United States Constitution and the

Michigan Constitution under the same legal theories requiring the same proof and the federal law

claims are dismissed, the state law claims should be dismissed as well.

        32.     In this case, Plaintiff raises claims requiring the same proof under both the United

States and Michigan Constitution. Plaintiff fails to state a valid claim upon which relief can be

granted under the United States Constitution.

        33.     As a result, Plaintiffs Count VII (sic) fails to state a claim under the Michigan

Constitution upon which relief can be granted.

        WHEREFORE Defendant requests this Honorable Court grant its Motion to Dismiss and

dismiss Plaintiffs Complaint.

                                                              Respectfully submitted,

Dated: February 4, 2019                                       CUMMINGS, McCLOREY, DAVIS
                                                              & ACHO, P.L.C.

                                                                     /s/ Haider A. Kazim
                                                              Haider A. Kazim (P66146)
                                                              Attorneys for Defendant




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                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF MICHIGAN

HOPE LUTHERAN CHURCH,                           CASE NO.: 2:18-cv-00155-PLM-TPG


               Plaintiff,                       HON. PAUL L. MALONEY


                                                MAG.: HON. TIMOTHY P. GREELEY


CITY OF ST. IGNACE, MICHIGAN,
a municipal corporation

               Defendant.



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                                   BRIEF IN SUPPORT OF
          DEFENDANT'S MOTION TO DISMISS PLAINTIFF'S COMPLAINT
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                                      Questions Presented


                             The standard under Fed. R. Civ. P. 12


          To survive a motion to dismiss, a plaintiff must provide a sufficient factual basis to
          support each claim. Mere labels and conclusions, formulaic recitation of the elements
          of a cause of action, or naked assertions devoid of further factual enhancement do not
          suffice. The plaintiff must plead sufficient factual content that allows the court to draw
          the reasonable inference that the defendant is liable for the misconduct alleged.
          Pleadings that fail to comply with this standard fail to state a claim upon which relief
          can be granted and are subject to dismissal pursuant to Fed. R. Civ. P. 12(c).

   I.     To succeed on a First Amendment Freedom of Speech and Assembly claim, a plaintiff
          must establish that the defendant has prevented it from speaking on matters of religion
          or from assembling. Claims based solely on a municipality applying a zoning ordinance
          and preventing a plaintiff from assembling in a specific building are insufficient
          because a church has no constitutional right to worship wherever it pleases. In this case,
          Plaintiff claims the City is preventing it from assembling in the specific Property it
          purchased—not that it has been prevented from speaking or assembling. Has Plaintiff
          stated a Freedom of Speech and Assembly claim upon which relief can be granted?

Defendant answers "no."

   II.    To succeed on a First Amendment Free Exercise Clause claim challenging a facially
          neutral law of general applicability, a plaintiff must establish the law targets religious
          conduct for distinctive treatment. Where a zoning ordinance was enacted to maximize
          tax revenue and plaintiff is prevented from operating in a zoning district, plaintiff must
          identify an institution that does not produce any tax revenue, but is nonetheless
          permitted to operate in the district. In this case, Plaintiff fails to identify an institution
          that does not produce any tax revenue, but is nonetheless permitted to operate in the
          GBD. Has Plaintiff stated a Free Exercise Clause claim upon which relief can be
          granted?

Defendant answers "no."

   III.   To succeed on a Fourteenth Amendment Equal Protection claim, a plaintiff must
          adequately plead that the government has treated it differently as compared to similarly
          situated institutions. Conclusory allegations of discriminatory intent without factual
          content to support such a finding—including facts necessary to conclude plaintiffs
          purported comparator is similarly situated—do not suffice. In this case, Plaintiff fails
          to adequately plead that it was treated differently than a similarly situated comparator.
          In fact, Plaintiff fails to identify any comparator. Has Plaintiff stated an Equal
          Protection claim upon which relief can be granted?

Defendant answers "no."



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      IV.       In evaluating a claim based on the RLUIPA Substantial Burden clause, courts consider
                whether the burden complained ofwas self-imposed and whether plaintiffhas a feasible
                alternative location from which it can carry on its mission. Courts have held that a
                burden is self-imposed where a plaintiffpurchases a property before researching zoning
                requirements. Courts have also held that a plaintiff has feasible alternative locations
                where it is able to fully operate at a nearby rented location. In this case, Plaintiff
                purchased the Property at issue before researching zoning requirements and it has a
                feasible alternative location from which it can fully operate nearby, which it has been
                renting for years. Has Plaintiffstated a Substantial Burden claimupon which reliefcan
                be granted?

Defendant answers "no."

      V.        The "Discrimination and exclusion" section of the RLUIPA contains three provisions:
                (a) the "Equal Terms Clause"; (b) the "Nondiscrimination Clause"; and (c) "Exclusion
                and limits."


                a. To succeed on an Equal Terms claim, a plaintiff must identify a comparator that is
                   similarly situated as to the legitimate zoning criteria underlying the challenged
                   zoning ordinance. Courts have held that tax revenue maximization and prioritizing
                   the availability of liquor licenses are legitimate zoning criteria. In this case, Plaintiff
                   fails to identify any similarly situated comparator that does not generate any tax
                   revenue and adversely impacts the availability of liquor licenses but is nonetheless
                   permitted to operate in the GBD. Has Plaintiff stated an Equal Terms claim upon
                   which relief can be granted?

             Defendant answers "no."

                b. To succeed on a Nondiscrimination claim, a plaintiff must create an inference that
                   the decision to deny its variance application was based on its religious faith as
                   opposed to the municipality's legitimate regulatory purposes. Courts have held that
                   where the facts demonstrate that no churches are permitted in a given zoning district
                   because they do not align with the municipality's goals for that district, a plaintiff
                   cannot succeed on a Nondiscrimination claim. In this case, the facts demonstrate
                   churches are not permitted in the GBD because they do not align with the City's
                   goals of tax revenue maximization and ensuring the availability of liquor licenses
                   and Plaintiff has not pled any facts to the contrary. Has Plaintiff stated a
                   Nondiscrimination claim upon which relief can be granted?
             Defendant answers "no."

                c. To succeed on an Exclusion and limits claim, a plaintiff must demonstrate that a
                   challenged ordinance deprives plaintiff of reasonable opportunities to practice its
                   religion. Courts have held that where churches are prohibited from commercial
                   zoning districts but are permitted as of right in other zoning districts, a plaintiff fails
                   to demonstrate it has been unreasonably deprived of opportunities to practice its

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               religion. In this case, although the Citywill not permit Plaintiffto operateits church
               in the GBD (a commercial district) with a tax exemption, Plaintiff can operate its
               church as ofright in three (3) of the City's other zoning districts. Has Plaintiff stated
               an Exclusion and limits claim upon which relief can be granted?

         Defendant answers "no."

   VI.      Where a plaintiff raises claims under both the United States Constitution and the
            Michigan Constitution under the same legal theories requiring the same proof and the
            federal law claims are dismissed, the state law claims should be dismissed as well. In
            this case, Plaintiff raises claims under both the United States and Michigan Constitution
            requiring the same proof. Has Plaintiff stated state law claims upon which relief can be
            granted where his federal law claims are dismissed?
Defendant answers "no."
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                                   Controlling Authorities

United States Constitution


U.S. Const, amend. 1                                                                        6, 8

U.S. Const, amend. XIV                                                                       11

Michigan Constitution

Mich. Const, art 1                                                                           24


United States Supreme Court

Ashcroft v. Iqbal, 556 U.S. 662 (2009)                                                    5, 12

Church oftheLukumiBabaluAye, Inc. v. CityofHialeah, 508 U.S. 520 (1993)                     8-9

City of Cleburne v. Cleburne Living Ctr., 437 U.S. 432 (1985)                                11

Dep't ofHuman Res. of Oregon v. Smith, 494 U.S. 872 (1990)                                     8

United States Circuit Court of Appeals

Andon.LLCv. City ofNewport News, 813 F.3d 510 (4th Cir. 2016)                                14

Bethel World Outreach Ministries v. Montgomery Cty. Council, 706 F.3d 548 (4th Cir. 2013)..15

Centro Familiar Cristiano Buenas Nuevas v. City of Yuma, 65\ F.3d 1163 (9th Cir. 2011)       19

Ctr. for Bio-Ethical Reform, Inc. v. Napolitano, 648 F.3d 365 (6th Cir. 2011)                 11

Fritzv. CharterTwp. of Comstock, 592 F3d 718 (6th Cir.2010)                                   5

Grace United Methodist Church v. City of Cheyenne, 451 F.3d 643 (10th Cir. 2006)         6-8, 11

Int'l Church ofthe Foursquare v. City ofSan Leandro, 673 F.3d 1059 (9th Cir. 2011)        14-15

LighthouseInst, for Evangelism Inc. v. City ofLong Branch,

lOOFed.Appx. 70 (3d Cir. 2004)                                                           15, 17

Lighthouse Inst,for Evangelism, Inc. v. City ofLong Branch,

510 F.3d 253 (3d Cir. 2007)                                                            9,19-20

Livingston Christian Schools v. Genoa Charter Township, 858 F.3d 996 (6th Cir. 2017)      14-17

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Lucas v.Monroe Cty., 203 F.3d 964 (6th Cir. 2000)                                          24

Midrash v. Sephardi, Inc. v. Town ofSurfside, 366 F.3d 1214(11th Cir. 2004)              9, 14

Mount Elliott Cemetery Ass'nv. City of Troy, 171 F.3d 398 (6th Cir. 1999)                   8

Naliv. Ekman, 355 Fed. Appx. 909 (6th Cir. 2009)                                           12

Petra Presbyterian Church v. Vill. ofNorthbrook, 489 F.3d 846 (7th Cir. 2007)               14

Primera Iglesia Bautista Hispana ofBoca Raton, Inc. v. Broward Cnty.,

450 F.3d 1295 (11th Cir. 2006)                                                          18-19

River ofLifeKingdom Ministries v. Village ofHazel Crest, Illinois,

611F.3d367(7thCir.2010)                                                                 19-20

Rocky Mountain Christian Church v. Bd. ofCnty. Com'rs, 613 F.3d 1229 (10th Cir. 2010)      23

Tree ofLife Christian Schools v. City of Upper Arlington, Ohio,

905 F.3d 357 (6th Cir. 2018)                                                            19-21

Westchester Day Sch. v. Vill. ofMamaroneck, 504 F.3d 338 (2d Cir. 2007)                    15

World Outreach Conference Ctr. v. City of Chicago, 591 F.3d 531 (7th Cir. 2009)            15

United States District Court


Alger Bible Baptist Church v. Township ofMoffatt, No. 13-13637,

2014 WL 462354 (E.D. Mich. Feb. 5,2014)                                               .passim

Johnsonv. Trott & Trott, P.C., 829 F. Supp. 2d 564 (W.D. Mich. 2011)                        5

Mcintosh v. Garofalo,361¥. Supp. 501 (W.D. Pa. 1973)                                        4

Muslim Cmty. Ass'n ofAnn Arbor and Vicinity v. Pittsfield Charter Tp.,

947 F. Supp. 2d 752 (E.D. Mich. 2013)                                                  6-7,22

Federal Statutes


42 U.S.C. 2000cc                                                                  13, 18,22-23



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42 U.S.C. 2000cc-5                                                        13

Michigan Statutes

M.C.L. 436.1107                                                         4,22

M.C.L. 436.1503                                                         4,22

Rules


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Secondary Sources

146 Cong. Rec. 7774-01                                                    14




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                                   Index of Exhibits




Exhibit A   Nali v. Ekman, 355 Fed. Appx. 909 (6th Cir. 2009)



Exhibit B   Lighthouse Inst,for Evangelism Inc. v. City ofLong Branch, 100 Fed. Appx. 70
            (3d Cir. 2004)




                                           IX
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                                        Statement of Facts


       The property at issue in this case, 132 S. State Street, St. Ignace, MI (the "Property"),

previously used as a laundromat, lies in the City of St. Ignace General Business District ("GBD").

PagelD. 1,3. Since approximately August 2017, Plaintiff, a church, has used the Property during

the week to run a nonprofit coffee shop ministry under the assumed name Harbor Hope Coffee.

PagelD. 3-4. On Sunday mornings, Plaintiff holds services for approximately 12-18 regular

attendees. PagelD. 3. Plaintiff receives a tax emption under the Michigan District Lutheran Church

Missouri Synod's 501(c)(3) exemption. Id.

       Plaintiff acquired the Property on or about February 8, 2018. Id. Prior to acquiring the

Property, Plaintiff held religious services at the Quality Inn in St. Ignace. Believing the Quality

Inn was no longer adequate, Plaintiff looked for several years for a new space in which to hold its

services. PagelD. 4. Plaintiff claims the rented space at the Quality Inn was inadequate and

hindered its religious exercise due to (a) the inability to gather without incurring rental expenses;

(b) the burden of having to pack up and transport items after every service; (c) the difficulty of

providing outreach to the community from a temporary facility; and (d) the burden of not owning

a church building visible to the community. Id.

       The City of St. Ignace Zoning Ordinance (the "Ordinance") states that the GBD was

"designed to provide for the general retail stores and service establishments of the community."

PagelD. 41. It further provides that the "regulations [of the GBD] are designed to promote

convenient shopping for motorists as well as pedestrians, with off-street parking being provided

by each business." Id. Section 38-252 of the Ordinance provides for the following permitted uses

in the GBD: (1) any use permitted in the Central Business District ("CBD"); (2) skilled trades

shops (plumber, electrician, etc.); (3) car sales/service; (4) retail sale and operation service
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establishments (restaurants, open markets, outdoor recreation); (5) parking facilities; (6) storage

of goods to be sold at retail; (7) other similar uses; (8) accessory structures customarily incidental

to the above uses; (9) hotel and motel; (10) living quarters, subject to some restrictions. PagelD.

41-42.


         The Ordinance describes the CBD as "being designed to provide for office buildings, retail

stores, and personal service establishments, which normally occupy the prime retail frontage to

service the comparison, convenience, and personal service shopping needs of the community."

PagelD. 40. It further provides, in relevant part, that the "regulations [of the CBD] are designed to

promote convenient pedestrian shopping and stable retail development by encouraging a

continuous retail frontage..." Id. Like the GBD, the Ordinance provides a list of approved uses in

the CBD. The following is a sample of that list, which provides 16 approved uses in total: (1) retail

businesses selling commodities (drug store, grocery store, etc.); (2)              personal service

establishments; (3) restaurants and taverns; (4) theaters or assembly halls; (5) office buildings; (6)

banks; and (7) governmental offices. PagelD. 40-41.

         In total, the City of St. Ignace is divided into ten (10) zoning districts: (1) Single-Family

Residential ("R-l"); (2) Two-Family Residential ("R-2"); (3) Mixed Residential ("R-3"); (4)

Mobile Home Park ("R-4"); (5) CBD; (6) GBD; (7) Tourist Business; (8) Light Industrial; (9)

Waterfront Light Industrial; and (10) Public Recreation. PagelD. 32. The Ordinance allows for

churches as of right in zones R-l, R-2 and R-3. See PagelD. 34, 36, 38.

         Plaintiffs claims in this case rely entirely on Sec. 38-252's reference to uses permitted in

the CBD. PagelD. 5. Plaintiff argues that the Ordinance permits theaters, assembly halls when

completely enclosed, municipal buildings, and hotels/motels in the CBD, but churches/religious

assemblyis not a permitted use in the CBD or GBD. PagelD. 6. Plaintiff furthers claims that, based
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"[u]pon information and belief, there are nonreligious assembly uses and not-for-profit uses

operating in both the CBD and GBD in the City." Id. However, Plaintiff fails to specifically

identify any such institution by name or with any degree of specificity.

        On or about June 14, 2018, Plaintiff filed a Zoning Permit Application, seeking to remodel

the Property from a laundromat into a church/coffee shop. The application was denied. PagelD. 6,

44. Plaintiff also applied for and was denied a property tax exemption. PagelD. 4. The City's

Zoning Administrator/Assessor informed Plaintiff that pursuant to Section 38-252 of the

Ordinance the Property was not zoned for a church due to the fact that it was in the GBD, which

does not include a church as a permitted use. PagelD. 4, 16. That letter went on to provide in

relevant part:

                 There are better suited areas of the city where a church can be
                 located. If the property was expected to be tax exempt as a church,
                 the zoning should have been checked before it was acquired. Only
                 certain residential districts allow for churches. If the Harbor Hope
                 Coffee Shop is operating as a church, it is in violation of the city's
                 code of ordinances and must apply for a variance. .. .If a variance is
                 granted then you may qualify for the tax exemption. PagelD. 16.

        At the July 12, 2018 meeting of the Zoning Board, Plaintiff, through its representative,

appealed the City Manager's denial of the Zoning Permit Application and sought a use variance to

use the Property as a church. PagelD. 6. Notes taken during that meeting and attached to Plaintiffs

Complaint show that Plaintiffs ultimate goal was to avoid paying taxes, which it claims it cannot

afford. PagelD. 46. The notes further show that although Plaintiff had been interested in the

Property since 2016, it had not taken any steps to apply for a variance or special use. Id. One

Zoning Board member expressed concern that if the Board granted Plaintiff an exemption, it would

have to do it for everyone. Another Zoning Board member raised concerns regarding having a
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church within 500 feet of an establishment selling liquor.1 PagelD. 6, 47. This member noted that

it would prevent existing and prospective businesses within 500 feet of the church from obtaining

a liquor license and this was inconsistent with the purpose of the GBD. PagelD. 47. A third Zoning

Board member, concerned by the prospect ofthe City losing tax revenue, noted that other nonprofit

businesses in the GBD on Main Street pay taxes. PagelD. 6-7, 47. Ultimately, the Zoning Board

unanimously denied Plaintiffs request for a variance. PagelD. 6.

       Plaintiffs Complaint raises claims against the City of St. Ignace under six (6) legal

theories: (1) Violation of the First Amendment's Freedom of Speech and Assembly; (2) Violation

of the First Amendment's Free Exercise Clause; (3) Violation of the Fourteenth Amendment's

Equal Protection Clause; (4) Violation of the Religious Land Use and Institutionalized Persons

Act ("RLUIPA")—Imposing Substantial Burden; (5) Violation of the RLUIPA—Unequal

Treatment; and (6) Violation of the Michigan Constitution. PagelD. 7-13.

                                       Standard of Review


       A Motion to Dismiss filed pursuant to Fed. R. Civ. P. 12(b) and a Motion for Judgment on

the Pleadings filed pursuant to Fed. R. Civ. P. 12(c) may, to a certain extent, be used

interchangeably as pretrial challenges to an opponent's claim. Mcintosh v. Garofalo, 367 F. Supp.

501, 503 (W.D. Pa. 1973). Rule 12(c) motions for judgment on the pleadings are analyzed by the

same standard as Rule 12(b)(6) motions to dismiss for failure to state a claim. Sensations, Inc. v.

City of Grand Rapids, 526 F.3d 291, 295 (6th Cir. 2008). The same standards apply to the



1See M.C.L. 436.1503(1) (preventing the Michigan Liquor Control Commission from granting
new applications for a liquor license or renewing/transferring an existing license if the
contemplated location is within 500 feet from a church or school). See also M.C.L. 436.1107(7)
(defining a "church" as "an entire house or structure set apart primarily for use for purposes of
public worship, and which is tax exempt under the laws of this state, and in which religious services
are held and with which a clergyman is associated, and the entire structure of which is kept for that
use and not put to any other use inconsistent with that use.").
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resolution of each of these challenges regardless of which type of motion is used. See Johnson v.

Trott & Trott, P.C, 829 F. Supp. 2d 564, 567 (W.D. Mich. 2011) (citing Fritz v. Charter Twp. of

Comstock, 592 F.3d 718, 722 (6th Cir.2010)).

         "To survive a motion to dismiss, a complaint must contain sufficient factual matter,

accepted as true, to state a claim to reliefthat is plausible on its face." Ashcroft v. Iqbal, 556 U.S.

662, 678 (2009) (quotation omitted). "A claim has facial plausibility when the plaintiff pleads

factual content that allows the court to draw the reasonable inference that the defendant is liable

for the misconduct alleged...Where a complaint pleads facts that are merely consistent with a

defendant's liability, it stops short of the line between possibility and plausibility of entitlement to

relief."Id.(quotationomitted). "The plausibilitystandard is not akin to a 'probability requirement,'

but it asks for more than a sheer possibility that a defendant has acted unlawfully." Id. The "well-

pleaded material allegations of the pleadings of the opposing party must be taken as true, and the

motion may be granted only if the moving party is nevertheless clearly entitled to judgment."

Wurzelbacher v. Jones-Kelley, 675 F.3d 580, 583 (6th Cir. 2012) (citation omitted). "Threadbare

recitals of the elements of a cause of action, supported by mere conciusory statements, do not

suffice." Iqbal, 556 U.S. at 678. The Court "need not accept as true a legal conclusion couched as

a factual allegation, or an unwarranted factual inference." Handy-Clay v. City ofMemphis, Tenn.,

695 F.3d 531, 539 (6th Cir. 2012) (internal citation omitted).

                                              Argument

    I.      Plaintiff's Count I fails to state a claim based on the First Amendment's
            Freedom of Speech and Assembly upon which relief can be granted.

         Plaintiff claims that the Ordinance, on its face and as applied, "treats religious assemblies

worse than non-religious assemblies" and that the City's treatment of religious land uses

"constitutes a content-based restriction on speech." PagelD. 8. Plaintiff further claims the City's
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regulation of religious assembly "is not a legitimate time, place, or manner regulation," it "does

not serve a significant government interest, and does not leave open ample alternative channels for

communication." Id. Finally, Plaintiff claims that the Ordinance "imposes discriminatory burdens

on those who seek to assemble for religious exercise and speech." Id.

       The First Amendment prohibits the government from "abridging the freedom of

speech...or the right of the people to peaceably assemble." U.S. Const, amend. I. However, "a

church has no constitutional right to be free from reasonable zoning regulations nor does a church

have a constitutional right to build its house of worship where it pleases." Grace United Methodist

Church v. City of Cheyenne, 451 F.3d 643, 652 (10th Cir. 2006) (citation omitted). This Court

need not address any of Plaintiffs allegations until Plaintiff first establishes its rights to speak and

assemble have actually been abridged by the City of St. Ignace.

       In Muslim Cmty. Ass'n ofAnn Arbor and Vicinity v. Pittsfield Charter Tp., 947 F. Supp.

2d 752 (E.D. Mich. 2013), the Court dismissed a remarkably similar Free Speech and Assembly

claim, reasoning:

               Nothing in Plaintiffs complaint suggests that Defendants have
               prevented Plaintiff from speaking on matters of religion or
               expressing its religious faith to anyone, nor prohibited [Plaintiffs]
               students from assembly. The Court believes Plaintiff expands the
               right to assemble too far by claiming that [Plaintiffs] students have,
               not only a right to assemble, but a right to do so in an "adequate
               school."/*/, at 771.


       In Alger Bible Baptist Church v. Township ofMoffatt, No. 13-13637, 2014 WL 462354

(E.D. Mich. Feb. 5, 2014) (ECF No. 17-1), counsel for Plaintiff in the instant case made nearly

identical legal arguments under facts remarkably similar to this case. The plaintiff inAlger did not

suggest that the township prevented from speaking onmatters ofreligion or expressing its faith to

anyone, nor did it suggest that the ordinance prohibited its members from assembling. Instead,
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plaintiff simply argued that it was prevented from practicing its religion in the precise location it

wanted to. As a result, the Court dismissed plaintiffs Freedom of Speech and Assembly claim,

holding that plaintiff failed to state a claim upon which reliefcould be granted. PagelD. 153. The

same outcome is required here.

          As in Alger Bible Baptist Church andMuslim Cmty. Ass 'n ofAnn Arbor, Plaintiffhas not

alleged, nor can it prove, that the City of St. Ignace has prevented it from speaking on matters of

religion or assembling. Neither the Ordinance nor the City's decision not to allow Plaintiff to

operate a church in the GBD with a tax exemption prevents Plaintifffrom speaking about religion

or assembling. In fact, the City of St. Ignace has agreed to allow Plaintiff to continue to speak and

assemble at the Property during the pendency of this case. ECF No. 12. Plaintiffs claim is simply

that it is being prevented from practicing its religion on the property that it desires to use. However,

as noted above, Plaintiffs right to assemble does not include a right to assemble in the structure

of its choosing. Grace United Methodist, 451 F.3d at 652.

          Plaintiff remains free to speak on matters of religion and assemble in any manner it

chooses, provided it complies with the limitations imposed by the Ordinance and continues paying

taxes. The City of St. Ignace has not prevented Plaintiff from speaking or assembling. Plaintiffs

conciusory allegation that the City's actions violate the First Amendment's Freedom of Speech

and Assembly Clause are not entitled to the presumption of truth. As a result, Plaintiff has failed

to state a Freedom of Speech and Assembly claim upon which relief can be granted and dismissal

is appropriate.

    II.      Plaintiff's Count II fails to state a claim under the First Amendment's Free
             Exercise Clause upon which relief can be granted.

          In support of Plaintiffs claim under the Free Exercise Clause, it claims that the Ordinance,

on its face and as applied, substantially burdens Plaintiffs free exercise of religion, while
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permitting nonreligious assemblies to be free of such burdens. Plaintiff further claims that the

Ordinance is not neutral, not generally applicable, and is a system of individualized assessments.

PagelD. 9.

       The First Amendment's Free Exercise Clause, made applicable to state and local

governments by the Fourteenth Amendment, provides that "Congressshall make no law respecting

an establishment of religion, or prohibiting the free exercise thereof." U.S. Const, amend. I.

"Religious exercise" means, "first and foremost, the right to believe and profess whatever religious

doctrine one desires." Dep't ofHuman Res. of Oregon v. Smith, 494 U.S. 872, 878 (1990). This

protection includes:

               the performance of (or abstention from) physical acts: assembling
               with others for a worship service, participating in sacramental use
               of bread and wine, proselytizing, abstaining from certain foods or
               certain modes oftransportation. It would be true.. .that a State would
               be 'prohibiting the free exercise [of religion]' if it sought to ban such
               acts or abstentions only when they are engaged in for religious
               reasons, or only because of the religious belief that they display. Id.

       However, "[the] right of free exercise does not relieve an individual of the obligation to

comply with a valid and neutral law of general applicability on the ground that the law proscribes

(or prescribes) conduct that his religion proscribes (or prescribes)." Id. at 879. Therefore, the

primary question is whether the Ordinance is a neutral law of general applicability. If it is, it does

not violate Plaintiffs right to freely exercise its religion. See Mount Elliott Cemetery Ass'n v. City

of Troy, 171 F.3d 398, 405 (6th Cir. 1999). If it is not a neutral law of general applicability, it is

subject to strict scrutiny. Id. "A law is neutral so long as its object is something other than the

infringement or restriction of religious practices." Grace United Methodist, 451 F.3d at 649-50

(citing Church of the Lukumi Babalu Aye, Inc. v. City ofHialeah, 508 U.S. 520, 533 (1993)). The

starting point for this analysis "must begin with [the Ordinance's] text[.]" Id. at 533.



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       Sections 38-251, 38-252, 38-231, and 38-232 of the Ordinance are neutral on their face.

PagelD. 40-42. While churches are not permitted in the CBD and GBD, neither are many other

secular businesses: junkyards, salvage yards, funeral homes, cemeteries, kennels, landfills. Page

ID. 34, 43. Churches are permitted as of right in three (3) of the City's ten (10) zoning districts.

Plaintiffs Complaint does not address or overcome the fact that the relevant Ordinance provisions

are facially neutral, nor does it demonstrate that the City's objective is infringement or restriction

of religious practices as opposed to its stated goals of promoting commerce and maintaining the

City's tax revenue. See Lighthouse Inst, for Evangelism, Inc. v. City ofLong Branch, 510 F.3d

253, 277 (3d Cir. 2007) (finding ordinance to be neutral law because there was no evidence that it

"was passed due to religious animus...was discriminatorily enforced against religious

institutions...[or] devalued religious reasons by judging them to be of lesser import than

nonreligious reasons.") (internal citations omitted)); Midrash v. Sephardi, Inc. v. Town ofSurfside,

366 F.3d 1214, 1234 (11th Cir. 2004) ("Zoning laws inherently distinguish between uses and

necessarily involve selection and categorization, often restricting religious assemblies to

designated districts and frequently requiring that religious assemblies complete a conditional use

application procedure.").

       Despite being a facially neutral law, the Ordinance could nonetheless offend the Free

Exercise Clause if it "targets religious conduct for distinctive treatment..." Lukumi Babalu, 508

U.S. at 534. In Alger Bible Baptist Church, 2014 WL 462354 (ECF No. 17-1), the defendant

township precluded the plaintiff from building its church in the township's highway commercial

district. Plaintiff challenged the township's ordinance and claimed, inter alia, that the ordinance

violated the Free Exercise Clause. The Court dismissed plaintiffs Free Exercise Clause claim,
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holding that plaintiff "ha[d] not pled sufficient facts to demonstrate that the Zoning Ordinance

impermissibly targets religious conduct for distinctive treatment," PagelD. 152, and reasoned:

               [E]ven if the Township Supervisor stated "that he did not want [the
               church] to operate at the Property because it would not generate any
               tax revenue," this statement does not impermissibly target religion;
               instead, the statement aligns with the Zoning Ordinance's purpose:
               promoting tax payer's commercial retail services in conjunction
               with a major highway interchange area. ...

               [The church] also emphasizes that religious structures are not
               permitted in highway commercial zones while "secular institutions
               like theatres and commercial recreation" are permitted. Of course,
               theatres and commercial recreation generate revenue, and thus fall
               directly in line with Moffatt's goal of "encouraging] the
               development of general retail" in the highway commercial district.
               [The church] does not advance a single, non-secular institution that
               does not produce some form of tax revenue for the Township but
               that is nevertheless permitted to operate in the highway commercial
               district. Id.


       A similar outcome is mandated in this case. While Plaintiffs church is not permitted in the

CBD or GBD, it is permitted in three (3) of the City's ten (10) zoning districts. (It is significant to

note that in Alger Bible Baptist Church, churches and other religious buildings were not permitted

by right in any zoning district.) Plaintiffs conciusory allegations that the Ordinance imposes

substantial burdens on Plaintiff while allowing nonreligious assemblies to be free from those

burdens is not entitled to the presumption of truth. Plaintiff has not advanced a single institution

that produces no tax revenue but is nonetheless permitted to operate in the GBD. Plaintiff has not

pled sufficient facts to support a finding that the City's actions were a result of targeting religion

for distinctive treatment as opposed to concern for the decision's impact on the City's tax revenue

and surrounding businesses. The City does not desire, nor has it ever desired, to prevent Plaintiffs

congregation from freely exercising their religion. The City is opposed to Plaintiff operating a




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church with tax-exempt status in the City's GBD due to the impact it would have on the City's tax

revenue and surrounding businesses.

             Further, Plaintiffs allegation is not that the City of St. Ignace has prevented it from

practicing the tenets of its faith. Rather, Plaintiff alleges it is not able to do so in a particular

building with a tax exemption. This does not implicate the First Amendment's Free Exercise

Clause. As stated in Grace United Methodist, "a church has no constitutional right to be free from

reasonable zoning regulations nor does a church have a constitutional right to build its house of

worship where it please." 451 F.3d at 652. The City has simply declined to allow Plaintiff to use

a particular property in the GBD with a tax exemption. This decision in no way affects Plaintiffs

ability to freely exercise its religion. As a result, Plaintiffs Free Exercise Clause claim should be

dismissed.


      III.      Plaintiff's Count III fails to state a claim under the Fourteenth Amendment's
                Equal Protection Clause upon which relief can be granted.

             In support of Plaintiffs Equal Protection claim, it alleges the City discriminates against

certain land uses based solely on the religious content of the speech. PagelD. 10.

             The Fourteenth Amendment's Equal Protection Clause provides that no State shall "deny

to any person within its jurisdiction the equal protection of the laws." U.S. Const, amend. XIV, §

1. In essence, the clause is "a direction that all persons similarly situated should be treated alike."

City of Cleburne v. Cleburne Living Ctr., 437 U.S. 432, 439 (1985) (citation omitted). "To state

an equal protection claim, a plaintiff must adequately plead that the government treated the

plaintiff disparately as compared to similarly situated persons and that such disparate treatment

either burdens a fundamental right, targets a suspect class, or has no rational basis." Ctr. for Bio-

Ethical Reform, Inc. v. Napolitano, 648 F.3d 365, 379 (6th Cir. 2011) (quotation and citation

omitted) (emphasis added).


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        A well-pleaded Equal Protection claim requires facts supporting a finding that the plaintiff

was subject to disparate treatment as compared to similarly situated persons. Mere conciusory

allegations of discriminatory intent without details to support such a finding—including details

necessary to conclude plaintiffs purported comparator was similarly situated—does not suffice.

Nali v. Ekman, 355 Fed. Appx. 909, 912-13 (6th Cir. 2009) (Exhibit A) (citing Iqbal, 556 U.S.

662).

        In Alger Bible Baptist Church, 2014 WL 462354 (ECF No. 17-1), the Court dismissed

plaintiffs Equal Protection Claim, holding that it failed to offer evidence that similarly situated

secular institutions had been permitted in the township's highway commercial zone. In plaintiffs

response to the township's motion to dismiss, it argued that "similar secular speech and assembly

uses are permitted as of right in the [] zoning district." PagelD. 153. However, the Court held the

lack of concrete examples of specific similarly situated secular institutions in plaintiffs response

and complaint rendered plaintiffs Equal Protection claim deficient as a matter of law. PagelD.

153-154.


        As in Alger Bible Baptist Church, Plaintiffs Complaint fails to identify specific similarly

situated secular institutions that are permitted to operate in the GBD. Instead, Plaintiff alleges

only that "[u]pon information and belief, there are nonreligious assembly uses and not-for-profit

uses operating in both the CBD and GBD in the City." PagelD. 5. As in Alger Bible Baptist Church,

the question that has to be asked is: "What are those similarly-situated secular institutions?"

Plaintiff has failed to answer this question. Plaintiff has not identified a single secular institution

that does not generate some form of tax revenue but is nevertheless permitted to operate in the

GBD. To the extent such entities actually exist, Plaintiff has not pled, nor can it prove, that these




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entities do not generate tax revenue. In other words, Plaintiff has not sufficiently pled facts to

establish it was treated differently than a similarly situated comparator.

             Plaintiff fails to make a plausible allegation that similarly situated nonreligious

organizations have been treated differently by the City of St. Ignace. The allegations contained in

the Complaint as to disparate treatment amount to conciusory statements and threadbare recitals

of the elements of the cause of action, which are insufficient to survive a 12(c) motion. As a result,

Plaintiffs Equal Protection claim should be dismissed.

      IV.       Plaintiff's Count IV fails to state a RLUIPA Substantial Burden claim upon which
                relief can be granted.

             In support of Plaintiffs RLUIPA Substantial Burden claim, it alleges that the Ordinance

"imposes a substantial burden on the religious exercise of the Church." PagelD. 10. Plaintiff

further alleges that the substantial burden imposed by the Ordinance is not the least restrictive

means of furthering a compelling governmental interest. PagelD. 11.

             Section 2 of the RLUIPA, referred to as the "Substantial Burden Clause," prohibits

imposing or implementing a land-use regulation in a manner that imposes a "substantial burden"

on the religious exercise of a person, assembly, or institution unless the government can show that

the regulation furthers a "compelling governmental interest" by "the least restrictive means." 42

U.S.C. 2000cc(a). In order to prevail on a substantial burden claim, Plaintiff must first demonstrate

the ordinance at issue actually imposes a substantial burden on religious exercise.2 Although the

RLUIPA does not define "substantial burden," the legislative history indicates that it is to be




2 RLUIPA defines "religious exercise" to include "any exercise of religion, whether or not
compelled by, or central to, a system of religious belief," including "[t]he use, building, or
conversion of real propertyfor the purposeof religious exercise." 42 U.S.C. 2000cc-5(7). The City
does not dispute that Plaintiffs claim implicates "religious exercise."
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interpreted by reference to RLUIPA's precursor, the Religious Freedom Restoration Act

("RFRA"), and First Amendment jurisprudence. See 146 Cong. Rec. 7774-01, 7776.

             In Livingston Christian Schools v. Genoa Charter Township, 858 F.3d 996 (6th Cir. 2017),

the Sixth Circuit squarely addressed the issue of what constitutes a "substantial burden" under

RLUIPA. As the Court explained, "not just any imposition on religious exercise will constitute a

violation of RLUIPA. Instead, a burden must have some degree of severity to be considered

'substantial.'" Id. at 1003. In support of that general proposition, the Court cited decisions in other

circuits3 and noted that failure to adhere to this rigorous standard "would exempt religious

institutions from all land-use regulations." Id. The Court went on to note that other circuits have

identified several factors to consider when attempting to determine whether a land-use regulation

imposes a substantial burden on a religious institution.

             One factor to consider is whether the plaintiffs own actions caused the burden at issue,

because a self-imposed burden is not imposed by governmental action altering a legitimate, pre

existing expectation that a property could be obtained for a particular land use. Andon, LLC v. City

ofNewport News, 813 F.3d 510, 515 (4th Cir. 2016) (plaintiffs burden was self-imposed where it

entered into a contingent lease agreement despite knowing the property failed to meet zoning

requirements); Petra Presbyterian Church v. Vill. ofNorthbrook, 489 F.3d 846, 851 (7th Cir. 2007)

(burden associated with purchasing property in an industrial zone for use as a church after being

informed its special-use application would be denied because the ordinance banned churches in

that zone was self-imposed).




3See Int'l Church ofthe Foursquare v. City ofSan Leandro, 673 F.3d 1059, 1067 (9th Cir. 2011)
(explaining that a substantial burden "must impose a significantly great restriction or onus upon
[religious] exercise."); Midrash, 366 F.3d at 1227 (concluding that a substantial burden is "more
than an inconvenience").
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             Another factor to consider is whether the religious institution has a feasible alternative

location from which it can carry on its mission. World Outreach Conference Ctr. v. City of

Chicago, 591 F.3d 531, 539 (7th Cir. 2009) (concluding there was no substantial burden where

plaintiff owned other empty space where it could construct its building); Lighthouse Inst, for

Evangelism Inc. v. City ofLong Branch, 100 Fed. Appx. 70, 73, 77 (3d Cir. 2004) (Exhibit B)

(concluding plaintiffhad not demonstrated likelihood of success on substantial burden claim when

it was denied zoning variance on property it purchased because it was able to fully operate at a

rented location nearby).4

             Ultimately, the Court in Livingston upheld the district court's dismissal of plaintiffs

substantialburden claim. In support of its holding, the Court noted the plaintiff had put forth only

conciusory evidence its current facilities were inadequate and it did not identify any of its core

religious functions that could not be carried out. Livingston, 858 F.3d at 1006. Specifically,

plaintiff merely alleged, inter alia, that "the fulfillment of [its] religious mission of operating a

Christian school to serve the entire Livingston County community necessitated a move...to a

facility more centrally located"; that the current property was "without easy access to the interstate

or major commuter roads," making attracting students difficult; that its current property "required

extensive maintenance and was in need of expensive repairs." Id. at 1006-07. The Court held that




4In the limited cases where courts have found a plaintiff had no feasible alternative location and
could succeed on a substantial burden claim, courts required evidence the alternative facility was
so inadequate it prevented the institution from carrying out its core religious functions. See Bethel
World Outreach Ministries v. Montgomery Cty. Council, 706 F.3d 548, 558 (4th Cir. 2013) (the
facility was so overcrowded the church had to hold four services on Sunday, shorten each service,
change its Communion and "Alter Call" practices and turn people away); Int'l Church of the
Foursquare, 673 F.3d at 1068-69 (the church's "core beliefs" required it to assemble in one
worship service, but it was unable to do so in current facility); Westchester Day Sch. v. Vill. of
Mamaroneck, 504 F.3d 338,352 (2d Cir. 2007) (the plaintiffschool was expanding and its existing
building did not have sufficient space).

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although these reasons "provide[d] a modicum of support for the proposition" that plaintiffs

current property was inadequate, it was insufficient to defeat the township's motion and plaintiffs

purported fears that it would have to close its doors altogether was "little more than

speculation.. .not substantiated by facts in the record." Id. at 1007.

       The Court further concluded that even if it assumed that plaintiffs characterization of its

current location as remote and inaccessible was supported by admissible evidence, remaining at

the current location did not impose a substantial burden. In reaching that conclusion, the Court

noted that the desired location was merely 12.1 miles from the current location and that the current

location was actually 1.2 miles closer to the geographic center of Livingston County than the

desired location. Id. at 1008. The Court concluded that even if the 12.1 mile distance was the

appropriate distance to consider, it was "not so significant as to impose a substantial burden on the

religious exercise of [plaintiff]." Id. at 1008-09 (citation omitted).

       Applying the foregoing factors to this case, Plaintiff has not sufficiently pled that the City

of St. Ignace has imposed a substantial burden on its religious exercise. As an initial matter, the

burden Plaintiff complains of is self-imposed. The City did not impose the "burden" of Plaintiff

purchasing the Property before researching the City's zoning restrictions. This burden was

undeniably self-imposed. Further, Plaintiff has a feasible alternative location from which it can

carry out its mission—the Quality Inn location it has rented for years. PagelD. 4. Although Plaintiff

cites factors related to the Quality Inn location to support its assertion that remaining there may

impose some level of inconvenience, these inconveniences do not rise to the level of a substantial

burden of its religious exercise.

        Specifically, Plaintiff cites (a) the inability to hold services without incurring additional

rental expenses at the Quality Inn, (b) the burden of packing up and transporting materials after



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every services, (c) difficulty of providing outreach to the community from a temporary facility,

and (d) the burden of not owning a church building visible to the community, as reasons that the

Quality Inn is inadequate. However, what Plaintiff utterly fails to cite is any actual burden on its

core religious functions—any religious function that it cannot carry out at the Quality Inn location.

And unlike the cases cited above wherein the plaintiff religious organization was teeming with

members giving rise to a need for expansion and having to turn would be parishioners away due

to inadequate space, Plaintiff routinely hosts only 12-18 members each Sunday. Indeed, Plaintiff

does not allege that the Quality Inn provides insufficient space. Plaintiff has not pled sufficient

facts to support an inference that the Quality Inn is not a feasible alternative from which Plaintiff

can carry out its religious mission.

       Finally, Plaintiffs desire for a permanent location from which it can more easily provide

outreach to the community is analogous to the desire for a more centrally located building

discussed in Livingston. However, the Property in this case is a mere 1.5 miles from the Quality

Inn location Plaintiff has used for years and, as the Court noted in Livingston, in order to meet its

burden of proof Plaintiff must do more than cite a desire to avoid additional rental expenses at the

QualityInn.Livingston, 858 F.3d at 1005-06(citing Lighthouse Inst, for Evangelism Inc., 100 Fed.

Appx. at 73, 77).

       Plaintiff has failed to sufficiently plead facts to support its claim that requiring it to comply

with the Ordinance or remain at the Quality Inn location constitutes a substantial burden imposed

by the City of St. Ignace. The Quality Inn location is a feasible alternative location and the burdens

of which Plaintiff complains are self-imposed. As a result, Plaintiff fails to state a RLUIPA

Substantial Burden claim upon which relief can be granted and dismissal is appropriate.




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      V.        Plaintiffs Count V fails to state a RLUIPA Unequal Treatment claim upon which
                relief can be granted.

             In Count V, Plaintiff claims the City of St. Ignace, "treats religious assemblies or

institutions, including [Plaintiff], on less than equal terms with non-religious assemblies or

institutions"; that the Ordinance "on its face and as applied...discriminates against assemblies or

institutions... on the basis of religion... [and] unreasonably limit[s] religious assemblies within its

jurisdiction." PagelD. 11. As a result, Plaintiff argues, the City of St. Ignace has violated the

RLUIPA's Equal Terms and Exclusions and Limits provisions. Under the heading "Discrimination

and exclusion" of the RLUIPA are three provisions: (1) the "Equal Terms Clause"; (2) the

"Nondiscrimination Clause";5 and (3) "Exclusion and limits." 42 U.S.C. 2000cc(b).

             (1) Equal Terms Clause

             This Clause provides that: "No government shall impose or implement a land use

regulation in a manner that treats a religious assembly or institution on less than equal terms with

a nonreligious assembly or institution." Id. § 2000(cc)(b)(l). Plaintiff must sufficiently plead the

following four (4) elements to state a prima facie claim: (1) it is a religious assembly or institution

(2) subject to a land use regulation, (3) that treats the religious assembly on less than equal terms,

with (4) a nonreligious assembly or institution. See Primera Iglesia Bautista Hispana of Boca

Raton, Inc. v. BrowardCnty., 450 F.3d 1295, 1307 (11th Cir. 2006). In this case there is no dispute

that the first two elements are established. However, Plaintiff has not sufficiently pled facts to

support the third and fourth elements.




5 Plaintiffs Complaint does not explicitly allege that the City of St. Ignace has violated the
RLUIPA Nondiscrimination Clause, but it does allege the City "discriminates against assemblies
or institutions, including [Plaintiff], on the basis of religion." PagelD. 11. Although a claim under
this theory has not been properly plead, it is addressed below for the sake of being thorough and
illustrating that Plaintiff has not pled any claim under the RLUIPA upon which relief can be
granted.
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             The RLUIPA does not define the meaning of "equal terms." However, in Tree of Life

Christian Schools v. City of Upper Arlington, Ohio, 905 F.3d 357 (6th Cir. 2018), the Sixth Circuit

provided guidance on the issue. After adopting the four element prima facie case standard

articulated in Primera Iglesia, the Court focused its analysis on what constitutes a proper

comparator for the analysis. The Court ultimately adopted what it viewed as the majority view of

what constitutes a proper comparator articulated by the Third, Seventh and Ninth Circuits,6

requiring a comparator to be "similarly situated with regard to legitimate zoning criteria." Id. at

370.


             Tax revenue maximization, maintaining the character of the GBD and prioritizing the
             availability ofliquor licenses are legitimate zoning criteria.

             In Tree ofLife, the plaintiff Christian school was denied a zoning variance to operate in

one of the city's commercial districts based on the city's zoning ordinance restricting schools

(secular or religious) from operating in the commercial district. As grounds for its denial, the city

cited its desire to maximize its tax revenue. The plaintiffargued this was not a legitimate regulatory

purpose and the reason was pretextual. Tree ofLife, 905 F.3d at 371.

             The Court quickly dismissed the argument that revenue maximization was not a legitimate

zoning criteria and, in doing so, cited a case in which the Seventh Circuit specifically identified

"generating municipal revenue" as a legitimate regulatory purpose that could be pursued by

separating residential and commercial uses within a jurisdiction. Id. (citing River ofLife Kingdom




6See LighthouseInst, for Evangelism, 510 F.3d at 266 ("a regulation will violate the [e]qual [t]erms
provision only if it treats religious assemblies or institutions less well than secular assemblies or
institutions that are similar situated as to the regulatory purpose."); River of Life Kingdom
Ministries v. Village ofHazel Crest, Illinois, 611 F.3d 367, 371 (7th Cir.2010) (the focus should
be on secular assemblies or institutions similarly situated as to the "accepted zoning
criteria" rather than the regulatory purpose.); and Centro Familiar Cristiano Buenas Nuevas v.
City of Yuma, 651 F.3d 1163, 1173 (9th Cir. 2011) (adopting Seventh Circuit's approach).
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Ministries, 611 F.3d at 373). The Court further noted it was "loath to reject revenue maximization

as a legitimate zoning criterion...[and] [providing such a national answer to a traditionally state

and local issue runs counter to the principles of federalism." Tree ofLife, 905 F.3d at 372.

        Likewise, the Court rejected plaintiffs pretext argument. In support of its argument,

plaintiff cited the fact that the ordinance permitted nonprofits in the district from which the city

could not collect taxes. However, as the Court explained, the city "need not tailor its zoning

regulations to squeeze every last dollar out of the permitted uses...to credibly claim that it has

structured the [ordinance] to generate more revenue than would be generated without the

restrictions." Id. at 372-73.


        In Lighthouse Inst,for Evangelism, 510 F.3d at 270, the City of Long Branch's legitimate

zoning criteria was creating and maintaining a "retail main street." The City argued that churches

"by their nature are not likely to foster the kind of extended-hours traffic and synergistic spending

it wishe[d] to foster.. .and that churches are different from the allowed secular assemblies because,

by operation of a New Jersey statute prohibiting the issuance of liquor licenses in the vicinity of

houses of worship, permitting churches into the [district] would hinder the development of modern

entertainment-oriented district that Long Branch envisages." Id. The Court ultimately agreed that

maintaining the character of the district and prioritizing the availability of liquor licenses were

legitimate zoning criteria and churches were not similarly situated to secular assemblies with

respect to that criteria. Id. at 270-272.

        As in the foregoing cases, the City of St. Ignace's motivations in this case were revenue

maximization, maintaining the character of the GBD, and prioritizing the availability of liquor

licenses.




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             Plaintiff has failed to identify a comparator similarly situated as to the City's legitimate
             zoning criteria.


             Having concluded that revenue maximization, maintaining the character of a district, and

prioritizing the availability of liquor licenses were legitimate regulatory purposes and having

rejected the notion that this purpose was merely pretext, the Tree ofLife Court turned its attention

to potential comparators. In Alger Bible Baptist Church, 2014 WL 462354 (ECF No. 17-1), the

Court dismissed plaintiffs equal terms claim because plaintifffailed to identify a similarly situated

comparator. While plaintiff alleged that "secular institutions like theatres and commercial

recreation" are permitted in the highway commercial district, it did not indicate what those

institutions are, or how they are similarly situated. This "bare-boned assertion," the Court held,

was "inadequate to meet the pleadings requirements." PagelD. 155.

             As in Alger Bible Baptist Church, Plaintiff has failed to adequately plead its Equal Terms

claim. The Complaint is silent as to which similarly situated institutions have been treated on

different terms than Plaintiff. Plaintiff has not identified any similarly situated comparator that

received a more favorable treatment. Plaintiffs "bare-boned" assertion that the City of St. Ignace

"treats religious assemblies or institutions, including [Plaintiff], on less than equal terms with non

religious assemblies or institutions"7 is insufficient. Alger Bible Baptist Church, 2014WL462354,

PagelD. 155. Nor does Plaintiffs passing reference to nonprofits operating in the GBD8 suffice.

As Plaintiff is well aware, since it has been paying taxes related to its nonprofit coffee shop

operated on the Property, nonprofits do generate tax revenue for the City of St. Ignace. Plaintiff

seeks to use the Property as a church with a tax exemption—thereby generating no tax revenue

for the City and conflicting with the articulated purpose of the GBD by limiting the availability of



7PagelD.11.
8PagelD. 5.
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liquor licenses.9 The secular assemblies with which Plaintiffseeks to compare itself do generate

tax revenue for the City and create no impediment to the City maintaining the character of the

GBD and prioritizing the availability of liquor licenses.

             In sum, Plaintiff fails to state a RLUIPA Equal Terms claim upon which relief can be

granted and dismissal is appropriate. The City does not desire, nor has it ever desired, to prevent

Plaintiff from assembling for religious purposes—as clearly evidenced by the fact that the City has

agreed to allow Plaintiff to continue assembling at the Property during the pendency of this

litigation. (ECF No. 12). Instead, the City seeks to prevent Plaintiff from operating a church on the

Property with a tax exemption in the heart of the City's GBD, which is not a permitted use, would

reduce the City's tax revenue, and limit the availability of liquor licenses.

             (2) Nondiscrimination Clause

             The RLUIPA Nondiscrimination Clause prohibits imposing or implementing a land use

regulation so as to discriminate against an assembly or institution on the basis ofreligion. 42 U.S.C.

2000cc(b)(2). While courts in this circuit have concluded that the Nondiscrimination Clause "may

not necessarily require proof of a similarly situated entity treated differently than the plaintiff," a

claim under this provision must still "create an inference that the decision to deny its variance

application was based on its religious faith." Muslim Cmty. Ass 'n ofAnn Arbor, 947 F. Supp. 2d

at 765.


             In Alger Bible Baptist Church, 2014 WL 462354 (ECF No. 17-1), the Court dismissed

plaintiffs Nondiscrimination Clause claim, holding that the facts "demonstrate[d] that the



9See M.C.L. 436.1503(1) (preventing the Michigan Liquor Control Commission from granting
new applications for a liquor license or renewing/transferring an existing license if the
contemplated location is within 500 feet from a church or school) and M.C.L. 436.1107(7)
(defining a "church" as "an entire house or structure set apart primarily for use for purposes of
public worship, and which is tax exempt under the laws of this state...").
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rezoning request was denied because churches of all types, along with many other secular

institutions, do not align with Moffatt's goals regarding its commercial districts." PagelD. 155-

156.


       As in Alger Bible Baptist Church, Plaintiff has not pled facts sufficient to give rise to an

inference that it was treated differently based on its religious faith. The City's treatment of Plaintiff

is consistent with its concern for the decision's impact on the City's tax revenue and the impact on

surrounding businesses in the GBD. Churches of all types are prohibited in the GBD as well as

many other secular businesses such as junkyards, salvage yards, cemeteries, funeral homes,

kennels, and landfills (Page ID. 34, 43) since these uses do not align with the stated goals of the

GBD. Plaintiffs conciusory allegation that the City "discriminates against assemblies or

institutions, including [Plaintiff], on the basis of religion" is insufficient. Plaintiff fails to state a

RLUIPA Nondiscrimination claim upon which relief can be granted and dismissal is appropriate.

        (3) Exclusion and Limits

       The Exclusions and limits provision contains subparts that prohibit: (A) "totally

excluding] religious assemblies from a jurisdiction"; and (B) imposing or implementing a land

use regulation that "unreasonably limits religious assemblies, institutions, or structures within a

jurisdiction." 42 U.S.C. 2000cc(b)(3). In assessing a claim under this provision, a plaintiff must

demonstrate that the challenged ordinance "as applied or implemented, has the effect of depriving

both [plaintiff] and other religious institutions or assemblies of reasonable opportunities to practice

their religion, including the use and construction of structures..." Rocky Mountain Christian

Church v. Bd. of Cnty. Com 'rs, 613 F.3d 1229, 1238 (10th Cir. 2010).

        In Alger Bible Baptist Church, 2014 WL 462354 (ECF No. 17-1), the Court dismissed

plaintiffs exclusion and limits claim, holding that it "ha[d] not demonstrated that the Zoning



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Ordinance unreasonably limit[ed] its ability to practice its faith" or that its zoning application was

denied because of its religious viewpoints. PagelD. 156. In so holding, the Court noted that

churches and other religious buildings were welcome in four of the township's six zoning districts,

just not two commercial districts. Id.

         As in Alger Bible Baptist Church, Plaintiffs Complaint does not plead sufficient facts to

give rise to the inference that the City of St. Ignace has unreasonably limited Plaintiffs ability to

practice its faith or that its zoning application was denied because of its religious viewpoints. The

City allows for churches as a use by right in three (3) of its ten (10) districts. The denial of

Plaintiffs variance application and request for tax exemption is consistent with the City's concern

for the decision's impact on the City's tax revenue and the impact on surrounding businesses in

the GBD. The denial had nothing to do with Plaintiffs religious viewpoint and Plaintiff has not

pled sufficient facts to reach a contrary conclusion. Plaintiffs conciusory allegations fail to state

an Exclusions and limits claim upon which relief can be granted and dismissal is appropriate.

   VI.      Plaintiffs Count VII (sic) fails to state a claim under the Michigan Constitution
            upon which relief can be granted.

         In the final Count of Plaintiffs Complaint, Plaintiff relies on the same facts to plead

violations of its rights under the Michigan Constitution10 that are set forth in detail in discussing

the violations of the same rights under the United States Constitution. The alleged violations of

the Michigan and United States Constitution require the same proof. Lucas v. Monroe Cty., 203

F.3d 964, 972 n. 4 (6th Cir. 2000) As a result, the City of St. Ignace relies on the arguments set

forth above in support of dismissal of Plaintiffs Count VII (sic). Since all of Plaintiffs federal




10 Plaintiffs claims are based on the following sections ofthe Michigan Constitution: Mich. Const,
art I. § 4 (Free Exercise Clause); Mich. Const, art. I § 5 (Free Speech Clause); Mich. Const, art. I
§ 3 (Freedom of Assembly); and Mich. Const, art. I § 2 (Equal Protection).
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law claims should be dismissed due to a failure to state a claim upon which relief can be granted,

the state law claims based upon the same theories should be dismissed as well. See Alger Bible

Baptist Church, 2014 WL 462354 (ECF No. 17-1), PagelD. 156 (dismissing plaintiffs claims

under the Michigan Constitution reasoning that plaintiffs federal claims failed and "[w]ithout

presenting more, its claims necessarily fail under the Michigan Constitution as well").

                                           Conclusion


       Plaintiffs Complaint fails to state a claim upon which relief can be granted and its

Complaint must be dismissed.

       WHEREFORE Defendant requests this Honorable Court grant its Motion to Dismiss and

dismiss Plaintiffs Complaint.

                                                     Respectfully submitted,

Dated: February 4, 2019                              CUMMINGS, McCLOREY, DAVIS
                                                     & ACHO, P.L.C.

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